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                       UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )      CASE NO. 8:05CR94
                                                )
                            Plaintiff,          )
                                                )
                      vs.                       )             JUDGMENT
                                                )
THOMAS WILSON,                                  )
                                                )
                            Defendant.          )


      IT IS ORDERED:

      1.     The Court has completed the initial review of the Defendant’s Motion Under

28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody (Filing No. 464);

      2.     Upon initial review, the Court summarily dismisses the Defendant's claims

raised in the § 2255 motion; and

      3.     The Clerk is directed to mail a copy of this judgment to the Defendant at his

last-known address.

      DATED this 26th day of December, 2012.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                Chief United States District Judge
